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Exhibit A
Case 1:23-cv-06585-JGLC-VF Document1i88-1 Filed 04/25/25

NYCServ Violation Copy

Internet

0215000005005003 =

SUMMONS « FOR CIVIL PENALTIES ONLY

SUMMONS NUMBER: 0216 401 177

ENFORCEMENT AGENCY: _ERIC EISENBERG |
AGENCY CONTACT INFORMATION: ERICNOISE @-DBASION:-HOTMAILCOM |
TAST NAME OR CONRAN NAME [eran | FIRST NAME 4
CELL PHONE #; 2

STREET ADDRESS 349 W 46k ST APT, NO.

ory __NEW YORK SNE NY ™1OOR6 |
ID NUMBER:

TYPE OF ID/ISSUED BY:

DATE OF OCCURRENCE: 09 f AT 7 227 We OF OCCURRENCE: 6:47PM
PLACE OF OCCURRENCE; 349 W 46™ ST

BOROUGH OF OCCURRENCE: MANHATTAN CB No.
| D Alternative Service
You must respond to the Summons, You can appear on the hearin,

g date and the location below or choose another
option. For other options on how ta gorse the back of Mees

HEARING DATE: 09 7 13 AT: OAM

QUEAGRAARPAMNISTRATIVE TRIALS AND HEARINGS
See reverse side for address

[borough]
Phone: (844)628.4692
FOR HEARING OPTIONS, SEE THE BACK OF THIS PAGE
REFER TO THE SUMMONS NUMBER ABOVE ON ALL CORRESPONDENCE
WARNING: Ifyou do not fespond, you may be found automatically responsible and you may owe larger penalties.
If you do not pay any imposed penalties, you may lose your ability to keep or get a Citylicense, permit or registration.
The City might also take further legal action against you. See the back for more information.

Details of Violation(s)
Section/Rule NYC AD. CODE 24-244(B) ‘gary code Lan] so [s |
Mail-In Penalty:$ 440 Maximum Penalty: $_ 1750
O)Respondent must appear in person | OBSERVED RESPONDENT PLAYING
SOUND FROM SPEAKER OR SPEAKERS, IN AWNING, OUTSIDE OF BUSINESS FOR
COMMERCIAT/BUSINESS ADVERTISING PURPOSES {AUDIBLE ON SIDEWALK)

HLVO

O Property Removed 011-2 Family (Multiple Dwelling O Commercial

NYC Charter Sections 1028 and 1049-a and the Rules of the City of New York authorize the NYC Office
of Administrative Trials and Hearings (OATH) to hold hearings.

\ dep fp EROY , affirm under penalty of perjury that!
personally Observed the commission of the violation(s) charged above “ AIT

thesegl 2 False statements made herein are punishable ag a Class A
Misdemeanor pursuant to section 210.45 of the Penal Law,

r

‘oa OF COMPLAINANT & REPORT LEVEL |
x (Fil 4 epacos
ae Commn'e, Sad, Unt, ox,

CONP EATER ey Fifedy] BERG~ TAX REGISTRY NUMBER AGENCY 99 9

Eisenpencl | | | | | ene
TT CATS
TT FIRST NAME
UST NAME

street adoress PO BOX 24527
NEWYORK

STATE =<

APA A

0216 401 177

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